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                             UNITED STATES DISTRICT COURT                                          •'-r r;-
                               SOUTHERN DISTRICT OF OHIO                                   (frf
                                                                                      '           21 P^i f
                                       EASTERN DIVISION                                               in li'. 11
 UNITED STATES OF AMERICA,                                CASE NOg { 1ft Of'I 6.3
        Plaintiff,                                        JUDGE 'JudgeMattteyV . •
         vs.                                              INDICTMENT
                                                          18   U.S.C.   § 1832(a)(5)
 YU ZHOU (1),                                             18   U.S.C.   §§ 1832(a)(1), (2), (3), (4) & 2
                                                          18   U.S.C.   § 1349
        and                                               18   U.S.C.   § 1343

 LI CHEN (2),                                             FORFEITURE


        Defendants.                                       FILED UNDER SEAL

THE GRAND JURY CHARGES:


                                     Introductory Allegations

                                             The Victim

        1.     Nationwide Children's Hospital is a pediatric hospital located in Columbus, Ohio.

       2.      In furtherance of its mission, the Hospital also operates a related research institute,

the Research Institute at Nationwide Children's Hospital, which conducts research to improve the

health and quality of life for children and their families. The Research Institute, referred to in this

Indictment as Nationwide Children's Hospital or NCH, owned all of the Trade Secrets and

intellectual property at issue in this Indictment.

       3.      At all times relevant to this Indictment, NCH Doctor 1 and NCH Doctor 2 each

directed a research lab within Nationwide Children's Hospital. Both labs conducted research

related to exosomes and exosome isolation.

       4.      Exosomes are small membrane-bound sacs that are produced by human cells and

that carry cell-derived components such as RNA, microRNA (or miRNA), and DNA. Exosomes

play a key role in the research, identification, and treatment of a range of medical conditions.
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including necrotizing enterocolitis (a condition sometimes found in premature babies), liver

fibrosis, liver cancer, oral leukoplakia, oral cancer, endometriosis, and ovarian cancer. Exosomes

are some of the smallest types of extracellular vesicles, with a diameter ranging between 30 and

150 nanometers. In order to be utilized fully for research, disease identification, and treatment,

exosomes must first be separated from other non-exosome components. This process is sometimes

referred to as exosome isolation.


                                         The Defendants
       5.      YU ZHOU worked for Nationwide Children's Hospital conducting research

related to exosomes and exosome isolation in the lab of NCR Doctor 1 from 2007 until ZHOU

resigned in 2017. ZHOU is the spouse of LI CHEN.

       6.      LI CHEN worked for Nationwide Children's Hospital conducting research related

to exosomes and exosome isolation in the lab of NCR Doctor 2 from 2008 until CHEN resigned

in 2018. CHEN is the spouse of ZHOU.

                                            The Theft
       7.      On or about the dates and times set forth below, ZHOU and CHEN conspired to,

attempted to, and did steal valuable scientific trade secrets and other valuable property related to

exosomes and exosome isolation from Nationwide Children's Hospital. ZHOU and CHEN acted

without the knowledge and authorization of Nationwide Children's Hospital, and with the intent

that their actions would benefit themselves and others outside of the Nationwide Children's


Hospital.


                                Entities Used bv the Defendants

       8.      Company I is a company ZHOU and CHEN founded in China in or around 2015

contrary to NCR's policies and without NCR's knowledge and authorization.              Company 1

conducts business in China related to exosomes and exosome isolation. At times relevant to this
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Indictment, without NCR's knowledge and authorization, and while ZHOU and CHEN were

employed by NCR, Company 1 marketed products and services related to exosome isolation.

       9.      Company 2 is an American biotechnology company established in 2016 that

conducts businessrelated to exosomes and exosomeisolation. Company 2 is the parent company

of Company 3. Person A is the co-founder and CEO of Company 2.

       10.     Company 3, officially established in or around 2017 by ZHOU and Company 2

without the knowledge and authorization of NCR, is a biotechnology company that conducts

business related to exosome-based diagnostic and therapeutic products. Company 3 markets what

it describes as proprietary exosome isolation systems. ZHOU and Person A are co-CEOs of

Company 3. As of 2019, Company 3's website advertised multiple products and services related

to exosome isolation, including a "GET^" One Drop Exosome Isolation Kit," which is related to,

and was developed from. Trade Secret 1. The "GET™ One Drop Exosome Isolation Kit" product

promises the ability to "enrich exosomes from one drop of blood," which includes, according to

the advertisement, the ability to isolate exosomes from 20 microliters of serum/plasma. As

discussed below, during his time working at NCR, ZHOU worked with NCR Doctor 1 to develop

Trade Secret 1, which allowed ZHOU and NCR Doctor 1 to isolate exosomes from between

approximately 10 and 20 microliters of serum.

       11.    In or around October 2017, Company 3 acquired Company 1, which included the

acquisition ofall intellectual property, patents, and patent applications held by ZHOU concerning

the business of researching, developing, and commercializing technologies and processes related

to exosomes and exosome isolation.
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                                      NCH*s Trade Secrets

       12.      Researchers at Nationwide Children's Hospital, including NCH Doctor 1 and NCH

Doctor 2, and those who have worked in the respective labs of NCH Doctor 1 and NCH Doctor 2,

conducted extensive work related to exosomes and exosome isolation. NCH devoted years of

work and its own money to researching exosomes, which led to the discovery and creation of

exosome-related trade secrets, as defined in 18 U.S.C. § 1839(3).          Nationwide Children's

Hospital's exosome-related trade secrets, which NCH considered confidential and proprietary,

included but were not limited to the following:

             a. Trade Secret 1, which consisted of a novel method of exosome isolation,

particularly related to isolating exosomes from fluid samples as small as, and smaller than,

approximately 20 microliters—all developed utilizing NCH's resources.

             b. Trade Secret 2, which consisted of nonpublic exosome-related information, data,

images, and analysis located in a file titled "6.30.17 Exosome in Beijing.pptx."

             c. Trade Secret 3, which consisted of nonpublic exosome-related information, data,

images, and analysis located in a file titled "ZhouTalk Beijing Exosome meeting.pdf.pptx."

             d. Trade Secret 4, which consisted of nonpublic exosome-related information, data,

images, and analysis located in a file titled "Figure-myography.pptx."

             e. Trade Secret 5, which consisted of nonpublic exosome-related information, data,

images, and analysis located in a file titled "57aelb40b760826e85a6ca9a-ProposalPDF-201602."

       13.      Trade Secrets 1 through 5 are related to products and services used in and intended

for use in interstate and foreign commerce.
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        14.    NCH's discovery of Trade Secrets 1 through 5 was funded, at least in part, by

federal grants. NCH's discovery of Trade Secrets 1 through 5, at least in part, played a role in

NCH's receipt of federal grant funds.

        15.    Trade Secrets 1 through 5 derived independent economic value, actual and

potential, from not being generally known to, and not being readily ascertainable through proper

means by, another person who could obtain economic value from the disclosure or use of the

information.


                                       Reasonable Measures


       16.     NCH took reasonable measures to keep its trade secrets, including those in this

Indictment, secret, including:

               a. NCH restricted physical access to research labs to key-card access by a small
                   number of individuals.

               b. NCH required its employees to wear identification badges to limit access to
                   restricted areas.

               c. NCH mandated that visitors to NCH facilities sign-in and wear identification
                  badges.

               d. NCH required third parties to sign nondisclosure agreements before disclosing
                  any confidential or trade secret information.

               e. Upon hiring, NCH's employees were required to sign a Confidentiality and
                  Security Agreement, which restricted the use of all confidential information to
                  the performance of employment duties related to NCH.

               f. Upon hiring, NCH's employees were required to sign acknowledgement of the
                   employee handbook, which includes:

                   i. NCH's Research Conflict of Interest Policy, which required employees to
                       disclose to NCH outside financial interests.

                   ii. NCH's Patents and Copyright Policy, which requires employees to disclose,
                       among other things, patents and patent applications to NCH. The Patents
                       and Copyright Policy prohibited publication and disclosure of inventions
                       deriving from work at NCH without NCH authorization. The Patents and
                       Copyright Policy further informed employees that NCH owned all
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                        intellectual property developed or invented by its employees, including,
                        unless otherwise stated by NCH or policy, any technical discoveries,
                        inventions, and non-academic work of employees using NCH facilities.

                   iii. NCH's Outside Activities Policy, which mandated a process for NCH to
                        approve outside activities in order to avoid any conflicts of interest and
                        commitment.

                g. NCH's computers displayed a Security Banner/Waming informing employees
                   that NCH monitored computer activity, and that NCH's computer network was
                    restricted.

                h. NCH also conducted periodic training for its employees on the handling of
                    confidential information,    scientific/business standards of conduct, the
                    ownership of research data, and responsible research conduct, among other
                    topics.

                                             COUNT 1
                         (Conspiracy to Commit Theft of Trade Secrets)

       17.      Paragraphs 1 through 16 are re-stated and re-alleged as if fully set forth herein.

       18.      Beginning in or around 2013, the exact date being unknown to the Grand Jury, and

continuing to the present, in the Southern District of Ohio, and elsewhere, the defendants, YU

ZHOU and LI CHEN, together with others known and unknown to the Grand Jury, intending to

convert a trade secret, which was related to a product and service used in and intended for use in

interstate and foreign commerce, to the economic benefit of anyone other than the owner of that

trade secret, and knowing and intending that the offense would injure the owner ofthat trade secret,

conspired and agreed:

             a. knowingly to steal, and without authorization appropriate, take, carry away,

conceal, and by fraud, artifice, and deception obtain trade secrets belonging to Nationwide

Children's Hospital;

             b. knowingly and without authorization to copy, duplicate, sketch, draw, download,

upload, alter, photocopy, replicate, transmit, deliver, send, communicate, and convey trade secrets

belonging to Nationwide Children's Hospital; and
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             c. knowingly and without authorization to receive, buy, and possess trade secrets

belonging to Nationvride Children's Hospital, knowing the same to have been stolen and

appropriated, obtained, and converted without authorization.

                             Manner and Means of the Conspiracy

       19.      The manner and means by which the defendants sought to accomplish the objects

of the conspiracy included, among others, the following;

             a. It was part of the conspiracy that ZHOU and CHEN stole trade secrets and

otherwise confidential information from their employer. Nationwide Children's Hospital.

             b. It was further part of the conspiracy that ZHOU and CHEN conducted

unauthorized business in China while they were employees at Nationwide Children's Hospital.

For example, while conducting research related to exosomes and exosome isolation as employees

at NCH with NCH's equipment and resources, ZHOU and CHEN: founded a Chinese

biotechnology company specializing in products and services related to exosomes and exosome

isolation; applied for Chinese patents related to exosomes and exosome isolation; participated in

the submission ofapplications for funding related to exosomes and exosome isolation from various

entities in China, including the National Natural Science Foundation of China; and organized and

attended conferences related to exosomes and exosome isolation—all contrary to NCH's policies

and without NCH's knowledge and authorization.

             c. It was further part of the conspiracy that ZHOU and CHEN conducted

unauthorized business in America while they were employees at Nationwide Children's Hospital.

For example, while conducting research related to exosomes and exosome isolation as employees

at NCH with NCH's equipment and resources, ZHOU and CHEN assisted in founding an
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American biotechnology company that marketed products and services related to exosomes and

exosome isolation—all contrary to NCH's policies without NCR's knowledge and authorization.

           d. It was further part of the conspiracy that ZHOU and CHEN conducted

unauthorizedexosome research using NCH's equipment and resources while they were employees

at NCR—^all contrary to NCR's policies and without NCR's knowledge and authorization.

           e. It was further part of the conspiracy that ZHOU and CHEN took unauthorized

steps to transfer work they performed for NCR, or unauthorized work generated using NCR's

equipment and resources, to locations outside of NCR while they were employees at NCR. For

example, while conducting research related to exosomes and exosome isolation as employees at

NCR, ZHOU and CHEN sent emails containing NCR's exosome-related and exosome-isolation

trade secrets and intellectual property to external email accounts associated with ZHOU and

CHEN, some which were tied to host servers located in China—all contrary to NCR's policies

and without NCR's knowledge and authorization.

           f. It was further part of the conspiracy that ZHOU and CHEN conducted

unauthorized travel to China while they were employees at Nationwide Children's Hospital. For

example, while using NCR's resources and equipment to conduct research related to exosomes

and exosome isolation as employees at NCR, ZHOU and CHEN organized and attended

conferences in China related to exosomes and exosomes isolation.       ZHOU and CHEN also


traveled to China and, while there, engaged in paid interaction with China's State Administration

ofForeign Expert Affairs, a Chinese governmental agency responsible for coordinating the transfer

of foreign intellectual property located abroad to China. These activities were all contrary to

NCR's policies and without NCR's knowledge and authorization.
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              g. It was further part of the conspiracy that ZHOU and CHEN conducted the above

unauthorized business, research, travel, and transfer of work related to exosomes and exosome

isolation with the intent to benefit themselves and others outside of NCH—^all contrary to NCH's

policies and without NCH's knowledge and authorization, and using NCH's resources and

equipment.

                                             Overt Acts


       20.       On or about the dates that follow, in furtherance of the conspiracy and to effect its

objects, the defendants, together with others known and unknown to the Grand Jury, within the

Southern District of Ohio and elsewhere, committed overt acts, including but not limited to those

that follow, all of which, unless otherwise stated, were taken without the knowledge and

authorization ofNCH, and using NCH's resources.

         a.      On or about May 27,2013, CHEN, using NCH's equipment and resources, created

a PowerPoint file titled "Cervical Cancer Data for [Last Name of Person BJ.ppt." Person B is a

Chinese national not affiliated with NCH who works at the Beijing Obstetrics and Gynecology

Hospital of the Capital Medical University in Beijing, China.

         b.      On or about September 8, 2014, CHEN, using NCH's equipment and resources,

created a spreadsheet file titled "09.08.14([last name of Person B]).xlsx."

         c.      On or about January 6,2015, ZHOU sent an email from his personal account with

a document attached, according to which CHEN, on January 5,2015, attended a meeting in China

regarding exosome research and the potential formation of an exosome-related company with

ZHOU.


         d.      On or about February 6, 2015, ZHOU sent an email from his NCH email address

carbon copying CHEN's NCH email address. In the email, ZHOU explained that he had been
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authorized by the International Technology Transfer Network (ITTN), a professional organization

located in China committed to promoting international technology transfer to China, "to organize

an   exosome    science   meeting,"   the   goal    of which   was    "to   incorporate   cutting-

edge[]exosome[]technology[]to abundant biospecimen resource[s] in China."

         e.    On or about February 15,2015, CHEN sent an email from her NCH email account

to her personal email address with a word-processing document attached titled "test.docx." The

"test.docx" document contained an image, dated January 15,2015, indicating that ZHOU became

a member of ITTN. The document also contained the text of a letter inviting a third party to the

"China Exosome Research Conference" on April 22,2015, at the Beijing International Convention

Center; the letter purported to be from ZHOU, who was listed as the "General Secretary of China

Exosome Research Conference 2015."


         f.    On or about February 22,2015, CHEN sent an email from her NCH account to her

personal email account. Attached to the email was a word-processing file titled "[Person C]

invitation letter.docx"; in the letter, which includes an image of CHEN's signature, CHEN, acting

without the authorization or knowledge ofNationwide Children's Hospital, invited Person C to be

a "visiting Scholar" at Nationwide Children's Hospital.     Person C is a Chinese national not

affiliated with NCH who works at the Beijing Stomatological Hospital of the Capital Medical

University in Beijing, China.

         g.    On or about March 3, 2015, CHEN sent an email from her NCH address to her

personal address. Attached to the email was a grant application to the National Natural Science

Foundation of China for funding for a research project related to the study ofexosomes, MiR-503,

and the development of chemotherapy resistance in ovarian cancer; the application listed CHEN




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as a project participant and Person B as the project lead. CHEN did not seek NCH approval for

her participation in the project.

          h.    In or around in 2015, ZHOU and CHEN, acting without the authorization ofNCH,

formed Company 1 in Beijing, China.

          i.    On or about October 4, 2015, CHEN sent an email from her NCH account to her

personal account; attached to the email was a spreadsheet file titled "[Last Name of Person C]

RNA dosage (10.04.15).xlsx," which concerned exosome-related information regarding cancer

diagnosis and therapy.

         j.     On or about December 13, 2015, CHEN sent an email from her personal email

account to Person C at an email address hosted on servers in China; attached to the email was a

PowerPointfile titled "[last name of Person C] (2016.01) poster.ppt."

          k.    On or about January 10, 2016, ZHOU sent an email from his China-based email

address ending in "@163.com" to an email address ending in "@163.com" regarding a progress

update for Company 1. Attached to the email was a document regarding Company 1 that referred

to a pending application to a Beijing talent plan.

          1.    On or about August 17,2016, ZHOU and CHEN, acting without the authorization

of NCH, filed two patent applications in China related to, among other things, exosome-isolation

kits and the isolation of exosomes from a small amount of serum. One application concerned

exosomes, miRNA-33b, and the diagnosis of liver cancer; this application contained information

related to Trade Secret 1, as well as information related to exosomes derived from healthy human

serum, which was similar to work performed in the lab of NCH Doctor 2.

         m.     On or about November 1,2016, CHEN sent an email from her personal account to,

among others, ZHOU at his China-based email address ending in "@163.com." Attached to the
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email were: a spreadsheet file regarding ZHOU's performance in 2016 as an expert for a project

administered by the Beijing Foreign Experts and Foreigners Employment Affairs Center; a word-

processing document related to CHEN's performance in 2016 as an expert on behalf of Company

1 for a project administered by China's State Administration of Foreign Expert Affairs; and an

expert registration form listing CHEN as employed by Nationwide Children's Hospital.

         n.   On or about November 22, 2016, CHEN used NCH's NanoSight machine to

conduct unauthorized research and then to create a related video file titled "[Shortened Name of

Company 3] kit isolated serum exosomes," which was the property of NCH.

         o.   On or about December 5, 2016, ZHOU saved a product sheet related to Company

1 titled "manual_GE300.pdf' onto NCH's server.

         p.   On or about February 26, 2017, ZHOU sent an email from his personal email

account to his China-based email address ending in "@163.com" attaching a financial statement

related to Company 1 titled "[Shortened Name of Company IJ.docx."

         q.   On or about April 14, 2017, CHEN forwarded an email from her personal email

address to ZHOU's personal email address. The email CHEN forwarded was from an individual

identified as ITTN's Manager of Industrial Cooperation Department regarding, in relevant part,

CHEN'S purchase of Company 1 stock.

         r.   On or about April 27, 2017, ZHOU sent an email from his China-based email

address ending in "@163.com" to his personal email address. Attached to the email was a file

titled "[Shortened Name of Company 3]~ 2017.pdf," which consisted ofNCH's exosome-related

information, data, images, and analysis, all of which NCH considered proprietary and non-public.

         s.   On or about May 7,2017, CHEN sent an email from her personal email address to,

among others, ZHOU at his personal email address. Attached to the email was a file titled "ISEV



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Poster (05.07.17).ppt"; at the top of file were the words "CHARACTERIZATION OF SALIVA

EXOSOMES        AND      EXOSOMAL         MICRORNAS          IN    PATIENTS       WITH      ORAL


LEUKOPLAKIA," which were flanked on one side by a graphic for the "Beijing Stomatological

Hospital" and on the other side by a graphic for NCH. A sentence of text at the bottom comer of

the document stated: "This work is funded by China, Beijing Municipal Administration of

Hospitals Key Medical Project (ZYLX201407)."

         t.    On or about May 11,2017, ZHOU and CHEN, acting without the authorization of

NCH, filed a patent application in China regarding exosomes, oral leukoplakia, and oral cancer.

         u.    On or about May 19,2017, ZHOU forwarded an email from his China-based email

address ending in "@163,com" to his personal email address. Attached to the email was a word-

processing document titled "Meeting Minutes - [Shortened Name of Company 3] Meeting BJ

2017Aprl9.docx," according to which ZHOU and Person A, among others, attended a meeting in

China on or about April 19, 2018, regarding, in part: Company 3's and Company 2's business

dealings related to exosome isolation kits; clinical studies in China related to liver fibrosis and

various types of cancer; and the International Scientific Forum on Exosome Research and

Application (ISFARA) scheduled to occur on June 30,2017.

         V.    On or about June 21, 2017, CHEN used NCH's NanoSight machine to conduct

unauthorized research and then to create related files titled "CExo. 2017-06-21 10-53-17-

ExperimentReport.pdf' and "06.21.2017 UExo. 2017-06-21 10-38-25-ExperimentReport.pdf,"

both of which were the property of NCH. (One graph from each file was included on a GET''"

Exosome Isolation Kit product sheet available on Company 3's website as of 2019.)

         w.    On or about June 30, 2017, through on or about July 1,2017, ZHOU and CHEN,

acting without the authorization of NCH, as well as Person A, attended and participated in the



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International Scientific Forum on Exosome Research and Application (ISFARA), an event in

Beijing that was hosted in part by Company 1 and sponsored by Company 2 and Company 3.

         X.    On or about June 30, 2017, CHEN, acting without the authorization of NCH,

disclosed Trade Secret 2 during an ISFARA presentation related to exosomes.

         y.    On or about June 30, 2017, ZHOU, acting without the authorization of NCH,

disclosed Trade Secret 3 during an ISFARA presentation related to exosomes.

         z.    On or about July 14,2017, CHEN sent an email from her NCH account to ZHOU

at his personal email account. Attached to the email was a word document that included language

from NCH's employment policies regarding NCH's ownership of discoveries and/or inventions

developed by anyone employed by NCH, as well as NCH's ownership of patents and copyrights

related to research conducted at NCH.


         aa.   On or about August 1, 2017, ZHOU received a payment from China's State

Administration of Foreign Expert Affairs regarding technical direction and exchange provided

during the following time periods: April 16, 2017, to April 24, 2017; June 10, 2017, to June 18,

2017; and June 27,2017, to July 4,2017.

         bb.   On or about August 1, 2017, CHEN received a payment from China's State

Administration of Foreign Expert Affairs regarding technical direction and exchange provided

during the following time periods: February 16, 2017, to February 21, 2017; March 17, 2017, to

March 27,2017; and June 28,2017, to July 4,2017.

         cc.   On or about August 8,2017, CHEN sent an email from her personal email account

to ZHOU at his personal email account.      Attached to the email was a document evaluating

ZHOU'S and CHEN's participation as experts in 2017 regarding a project administered by the

State Administration of Foreign Expert Affairs.



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          dd.   On or about August 14,2017, CHEN emailed, from her NCH email account to her

personal email address, a draft recommendation letter purporting to be written by Person A in

support of CHEN'S application to the Beijing OverseasTalent Plan; the letter referred to CHEN's

role at Nationwide Children's Hospital as a researcher, including her work researching exosomes

and exosome isolation.

          ee.   On or about August 24,2017, CHEN emailed Trade Secret 4 from her NCH email

account to ZHOU at his China-based email address ending in "@163.com."

          ff.   On or about August 25,2017, CHEN sent an email from her personal address to an

address ending in "@163.com." Attached to the email was a grant application to the National

Natural Science Foundation of China for funding for a research project related to oral leukoplakia

and exosome-related microRNA therapy; the application, which listed CHEN as a participant and

Person C as the project lead, contained Trade Secret 5. CHEN did not seek NCH approval for her

participation in the project.

          gg.   On or about August 26, 2017, ZHOU forwarded an email from his China-based

emailaddressendingin "@163.com"to CHEN at her personal email address. Theemailcontained

an attachment concerning Company 1's work related to exosomes and exosome isolation, as well

as Company 1's partnership with Beijing Daopei Medical Group and Company 2.

          hh. On or about August 27, 2017, a document titled "slides for [Company 3].pptx,"

which contained NCH's data and concepts related to exosomes and liver fibrosis, was created

using NCH equipment and resources at the direction of CHEN and ZHOU.

          ii.   On or about August 27, 2017, CHEN sent an email from her personal account to

ZHOU at his China-based email address ending in "@ 163.com." Attached to the email was a

document conceming oral leukoplakia, oral cancer, and exosome isolation.



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         jj.   On or about September 15, 2017, CHEN used NCH's NanoSight machine to

conduct unauthorized research and then to create related files titled "[Last Name of Person C]

BMMSC 80 2017-09-15 15-39-40-ExperimentReport.pdf' and "MSG 80 2017-09-15 15-32-46-

ExperimentReport.pdf," both of which were the property of NCH.

         kk.   On or about September 26, 2017, CHEN used NCH's NanoSight machine to

conduct unauthorized research and then to create a related file titled "09.26.17 [Last Name of

Person C] 2017-09-26 15-09-13-ExperimentReport.pdf," which was the property of NCH.

         11.   On or about October 4,2017, CHEN emailed, from her NCH email account to her

personal email account, images of exosomes located in a file titled "Cryo TEM copy.jpg," all of

which NCH considered proprietary and non-public.

         mm. On or about October 8, 2017, ZHOU notified NCH Doctor 1 of ZHOU's

resignation, effective on or about November 10, 2017; his last physical day in the lab was on or

about October 27,2017.

         nn.   On or about October 20, 2017, ZHOU sent an email from his China-based email

accoimt ending in "@[shortened name of company 3].com" to his personal email address with

documents attached regarding, among other things, the execution ofthe Asset Purchase Agreement

between ZHOU and Company 3.

         00.   On or about October 20, 2017, ZHOU sent an email from his personal email

address to his China-basedemail account ending in "@[shortened name of company 3].com" with

a document attached regarding Company 3's business relationship with Daopei Hospital Medical

Research Center.


         pp.   On or about October 23, 2017, CHEN sent an email from her personal email

account to ZHOU at his China-based email address ending in "@163.com" with the following



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images of exosomes attached: "balbcmale lOOk-l.tif," "swmale kit 100k-3.tif," and "swmaie kit

100k-4.tif." The images, which were the property of NCH, were generated using NCH's

equipment and resources.

         qq.   On or about October 25,2017, ZHOU emailed, from his personal email account to

himself at his China-based email account ending in "@[shortened name of company 3].com," a

file titled "GET200 flyer (06.21.2017).pptx." The file contained information, images, and analysis

generated using NCH's equipment and resources, as well as information, images, and analysis

related both to Trade Secret 1 and to work performed in the labs ofNCH Doctor 1 and NCH Doctor

2 during ZHOU's and CHEN's respective tenures at NCH.

         rr.   On or about October 25,2017, ZHOU and CHEN participated in the execution of

the Asset Purchase Agreement between ZHOU and CHEN, and Company 3, according to which

Company 3 acquired all assets, including all exosome-related intellectual property, held by ZHOU

and CHEN, in exchange for ZHOU and CHEN receiving, among other things, $876,087 in cash.

         ss.   On or about October 27,2017, CHEN used NCH's NanoSight machine to conduct

unauthorized research and then to create related files titled "PEG 600 serum 2017-10-27 10-38-

25-ExperimentRepoit.pdf' and "PEG cell media 2017-10-27 10-30-29-ExperimentReport.pdf,"

both of which were the property ofNCH.

         tt.   On or about October 30, 2017, ZHOU participated in a press release regarding,

among other things. Company 3's acquisition of Company 1, a purportedly proprietary exosome

isolation system Company 2 and Company 3 had acquired from ZHOU and CHEN, and research

kits and services related to exosome isolation.

         uu.   On or about October 31, 2017, CHEN sent an email from her personal email

accoxmt to ZHOU at his China-based email account ending in "©[shortened name of company



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3].com" with a file attached titled "2017 10.31 DNA isolation.xlsx," which was the property of

NCH.


         w.    On or about November 20, 2017, CHEN used NCH's NanoSight machine to

conduct imauthorized research and then to create a related file titled "XYl test 2017-11-20 15-40-

00-ExperimentReport.pdf," which was the property of NCH.

         ww. On or about November 20,2017, CHEN sent an email from her NCH email account

to ZHOU at his China-based email account ending in "@[shortened name of company 3].com"

with a file attached titled "XYl test 2017-11-20 15-40-00-ExperimentReport.pdf," which was the

property ofNCH.

         XX.   Between on or about November 20, 2017, and on or about November 27, 2017,

ZHOU and CHEN received four wire transfers fi-om Company 2 totaling approximately $876,087.

         yy.   On or about November 21,2017, CHEN sent an email from her NCH email account

to ZHOU at his China-based email account ending in "©[shortened name of company 3].com."

Attached to the email were the following files, each of which contained images of exosomes that

NCH considered nonpublic and proprietary: "sample 1 45k-l.tif," "sample 2 50k-l.tif," "sample

5 50k-4.tif," and "sample 5 50k-5.tif."

         zz.   On or about November 25, 2017, ZHOU received a payment from China's State

Administration of Foreign Expert Affairs regarding technical direction and exchange provided

during the following time periods: September 24,2017, to October 2,2017; and October 29,2017,

to November 8,2017.

         aaa. On or about November 25, 2017, CHEN received a payment from China's State

Administration of Foreign Expert Affairs regarding technical direction and exchange provided




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during the following time periods: October 11, 2017, to October 18, 2017; and November 13,

2017, to November 19,2017.

         bbb. On or about November 27, 2017, CHEN used NCH's NanoSight machine to

conduct unauthorizedresearch and then to generate related files titled "P.S 101 2017-11-27 15-41-

03-ExperimentReport.pdf'and "P.S 101 2017-11-27 15-29-32-Experiment."

         ccc. On or about December 1, 2017, CHEN emailed, from her NCH email account to

her personal email address, a file titled "report with NTA analysis.pptx," which was the property

of NCH, and which contained an image and video related to unauthorized exosome research

CHEN conducted using NCH's equipment and resources.

         ddd. On or about December 4, 2017, CHEN emailed, from her NCH email account to

both her personal email address and ZHOU at his China-based email account ending in

"@[shortened name ofcompany 3].com," two image files titled "Serum DNA and exosomal DNA

by Nanodrop 2000c.jpg" and "Exosomal DNA by Nanodrop 2000c.jpg."                The image files

contained graphs and analysis related to unauthorized exosome research CHEN conducted using

NCH's equipment and resources.

         eee. On or about December 5, 2017, CHEN sent an email from her personal email

account to, among others, ZHOU at his China-based email account ending in             163.com."

Attached to the email was a document conceming ZHOU's role as a manager on an exosome-

related project for Company 1; the document listed CHEN as Company I's legal representative.

         fff.   On or about December 13,2017, CHEN sent an email from her NCH email account

to her personal email address and to ZHOU at his China-based email account ending in

"@[shortened name of company 3].com." Attached to the email was a file titled "Classic

exosomes.pptx," which contained images of exosomes NCH considered nonpublic and



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proprietary. ("Classic exosomes.pptx"contained,among others, exosome images titled "swfemale

20k-l.tif' and "sample 5 50k-4.tif," both of which were used on a GET'"" Exosome Isolation Kit

product sheet available on Company 3's website as of 2019.)

         ggg. On or about December 20,2017, CHEN sent an email from her NCH email account

to her personal email address. Attached to the email was a file titled "PS testpptx," which

contained, among others, an exosome image NCH considered nonpublic and proprietary titled

"2.20.17 AML-12 Ctrl_013."

         hhh. On or about January 30, 2018, CHEN copied and took Trade Secret 2 from NCH

without authorization.


         iii.   On or about January 31,2018, CHEN resigned from her position at NCH.

         jjj.   On or about February 14, 2018, ZHOU participated in a press release announcing

Company 3's plans to market and distribute what it referred to as the Company's proprietary

exosome isolation systems from its headquarters in Ohio.

         kkk. On or about April 24, 2018, ZHOU participated in a press release announcing

Company 3's formation of a partnership with the Shanghai Ninth People's Hospital to establish a

joint laboratory in regenerative exosomics. Under the partnership, the laboratory would combine

Company 2's purportedly proprietary exosome isolation technology with the Shanghai Ninth

People's Hospital clinical expertise.

         111.   On or about May 10,2018, ZHOU and CHEN filed a patent application in China

regarding exosomes and oral cancer.

       All in violation of 18 U.S.C. § 1832(a)(5).




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                                        COUNTS 2 through 4
                                       (Theft of Trade Secrets)

       21,     Paragraphs 1 through 20 are re-stated and re-alleged as if fully set forth herein.

       22.     On the dates set forth below, in the Southern District of Ohio and elsewhere, the

defendants listed in the separate counts below, together with others known and unknown to the

Grand Jury, intending to convert a trade secret, which was related to a product and service used in

and intended for use in interstate and foreign commerce, to the economic benefit of anyone other

than the owner of that trade secret, and knowing and intending that the offense would injure the

owner of that trade secret, as specifically alleged in each of the Counts below:

               a.      knowingly stole, and without authorization appropriated, took, carried

away, concealed, and by fraud, artifice, and deception obtained trade secrets belonging to

Nationwide Children's Hospital;

               b.      knowingly and without authorization copied, duplicated, sketched, drew,

downloaded,    uploaded,    altered,    photocopied,   replicated,   transmitted,   delivered,   sent,

communicated, and conveyed trade secrets belonging to Nationwide Children's Hospital;

               c.      knowingly and without authorization received, bought, and possessed trade

secrets belonging to Nationwide Children's Hospital, knowing the same to have been stolen and

appropriated, obtained, and converted without authorization; and

               d.      knowingly attempted to commit any of the violations alleged in Counts 2

through 4 below.




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                  APPROX.                                                                  TRADE
  COUNT                              DEF.                    ACTION
                    DATE                                                                   SECRET
                                              ZHOU and CHEN stealing, and
                                              without authorization appropriating,
               10/30/17-Date of     ZHOU                                                  Trade Secret
     2                                        taking, carrying away, and concealing,
                  Indictment        CHEN                                                       1
                                              and by fraud, artifice, and deception
                                              obtaining Trade Secret I, in violation of
                                              18U.S.C. §§ 1832(a)(1) & 2
                                              CHEN sending email, in violation of 18
                                    CHEN      U.S.C. §§ 1832(a)(1), (2), (4) & 2;         Trade Secret
     3         August 24,2017
                                    ZHOU      ZHOU receiving email, in violation of            4
                                              18 U.S.C. §§ 1832(a)(3), (4) & 2
                                              CHEN taking and duplicating Trade
                                              Secret 2 without authorization, in          Trade Secret
     4         January 30,2018      CHEN
                                              violation of 18 U.S.C. §§ 1832(a)(1) &           2
                                              (2)



                                            COUNTS
                               (Conspiracy to Commit Wire Fraud)

         23.   Paragraphs 1 through 20 are re-stated and re-alleged as if fully set forth herein.

         24.   Beginning in or around 2013, the exact date being unknown to the Grand Jury, and

continuing to the present, in the Southern District of Ohio, and elsewhere, the defendants, YU

ZHOU and LI CHEN, together with others known and unknown to the Grand Jury, did knowingly

and intentionally conspire and agree to commit an offense against the United States, that is, to

devise and intend to devise a scheme and artifice to defraud as to a material matter, and to obtain

money and property by means of materially false and fraudulent pretenses, representations, and

promises, and material omissions, and to deprive Nationwide Children's Hospital of its intangible

right to ZHOU'S and CHEN's honest services, and in furtherance of the scheme used wire

communications in interstate and foreign commerce, in violation of 18 U.S.C. § 1343.




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                               Manner and Means of the Conspiracy

          25.    The objects of the conspiracy were carried out, in part, as alleged in Paragraphs 19

and 20.


          All in violation of 18 U.S.C. § 1349.



                                       COUNTS 6 through 27
                                            (Wire Fraud)

          26.    Paragraphs 1 through 20 are re-stated and re-alleged as if fully set forth herein.

          27.    Beginning in or around 2013, the exact date being unknown to the Grand Jury, and

continuing to the present, in the Southern District of Ohio, and elsewhere, the defendants, YU

ZHOU and LI CHEN, together with others known and unknown to the Grand Jury, did knowingly

and with the intent to defraud, devise and intend to devise a scheme and artifice to defraud as to a

material matter, and to obtain money and property by means of materially false and fraudulent

pretenses, representations, promises, and omissions, and to deprive Nationwide Children's

Hospital of its intangible right to ZHOU's and CHEN's honest services.

          28.    On or about the dates set forth in the separate counts below, in the Southern District

ofOhio and elsewhere, for the purpose ofexecuting the scheme and artifice to defraud Nationwide

Children's Hospital of its intangible right to ZHOU's and CHEN's honest services and to

obtain money and property by means of materially false and fraudulent pretenses, representations,

promises, and material omissions. Defendants ZHOU and CHEN did knowingly transmit and

cause to be transmitted by means of wire, radio, and television communication in interstate and

foreign commerce the following writings, signs, signals, pictures, and sounds, each

communication being a separate count of this indictment:




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                APPROX.
COUNT                              DEF.                   WmE TRANSACTION
                  DATE
                                            Email attaching document regarding meeting in China
  6           January 6, 2015     ZHOU
                                            on January 5,2015
                                  ZHOU      Email regarding ITTN
  7           February 6,2015
                                  CHEN
  8          February 15, 2015    CHEN      Email regarding ITTN
  9          February 22, 2015    CHEN      Email attaching "fPerson C1 invitation letter.docx"
                                            Email attaching NSFC grant listing CHEN as a project
  10           March 3,2015       CHEN
                                            participant and Person B as the project lead
                                            Email attaching "[Last Name of Person C] RNA dosage
 11           October 4, 2015     CHEN
                                            (10.04.15).xlsx"
  12          January 10,2016     ZHOU      Email regarding a progress update for Company 1
                                            Email attaching "[Shortened Name of Company
 13          February 26, 2017    ZHOU
                                            n.docx"
                                  CHEN      Email regarding CHEN's purchase ofCompany 1 stock
 14            April 14,2017
                                  ZHOU
                                            Email attaching "[Shortened Name of Company 3]~
 15            April 27, 2017     ZHOU
                                            2017.pdf'
                                  CHEN      Email attaching "ISEV Poster (05.07.17).ppt"
 16             May 7,2017
                                  ZHOU
                                            Email attaching a draft recommendation letter regarding
 17           August 14,2017      CHEN      CHEN's application to the Beijing Overseas Talent
                                            Plan
                                  CHEN      Email attaching Trade Secret 4
  18          August 24, 2017
                                  ZHOU
                                            Email with an attachment concerning, among other
 19           August 26, 2017     ZHOU      things. Company I's partnership with Beijing Daopei
                                            Medical Group and Company 2
                                  CHEN      Email with an attachment concerning oral leukoplakia,
 20           August 27, 2017
                                  ZHOU      oral cancer, and exosome isolation
 21           October 4,2017      CHEN      Email attaching "Cryo TEM copy.jpg"
                                            Email attaching "XYl test 2017-11-20 15-40-00-
                                  CHEN
 22         November 20,2017                ExperimentReport.pdf," which was the property of
                                  ZHOU
                                            NCH
                                  CHEN      Email attaching "sample 1 45k-l.tif," "sample 2 50k-
 23         November 21, 2017
                                  ZHOU      1.tif," "sample 5 50k-4.tif," and "sample 5 50k-5.tif'
                                  CHEN      Email attaching "report with NTA analysis.pptx,"
 24          December 1, 2017
                                  ZHOU      which was the property of NCH
                                            Email attaching "Serum DNA and exosomal DNA by
                                  CHEN      Nanodrop 2000c.jpg" and "Exosomal DNA by
 25          December 4, 2017
                                  ZHOU      Nanodrop 2000c.jpg," which were generated using
                                            NCH equipment and resources
                                  CHEN      Email attaching "Classic exosomes.pptx"
 26         December 13, 2017
                                  ZHOU
 27         December 20, 2017     CHEN      Email attaching "PS test.pptx"

       All in violation of 18 U.S.C. §§ 1343 & 2.



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                               FORFEITURE ALLEGATION A

       29.     The allegations of this Indictment are re-alleged and by this reference fully

incorporated herein for the purpose ofalleging forfeitures to the United States ofAmerica pursuant

tolSU.S.C. §§ 1834 and 2323.

       30.     Upon conviction of any of the offenses alleged in Counts 1 through 4 of this

Indictment, the defendants shall forfeit to the United States of America, pursuant to 18 U.S.C.

§§ 1834 and 2323, any property used, or intended to be used, in any manner or part to commit or

facilitate the commission of such offenses, and any property constituting or derived from any

proceeds obtained directly or indirectly as a result of the commission of such offenses, including

but not limited to the following:

               a. $876,087.00 in United States currency in the form of a forfeiture money
                  judgment;

               b. All rights to receive a $450,000.00 cash payment from Genexosome
                  Technologies, Inc., as a result of the "Stock Purchase Agreement" made and
                  entered into as of October 25,2017, between Genexosome Technologies, Inc.,
                  and Defendant YU ZHOU, and Beijing Jieteng (GenExosome) Bitoech Co.
                   Ltd.;

               c. 500,000 shares of common stock of Avalon GloboCare Corp.; and

               d. 400 shares of common stock of Genexosome Technologies, Inc.

       31.     Substitute Assets: If any of the property described above, as a result of any act or

omission of a defendant—


               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property that cannot be subdivided without
                  difficulty—

                                                25
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the United States of America, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 2323(b), shall be entitled to seek forfeiture of any other property of the defendant up to the value

of the above forfeitable property.

       Forfeiture in accordance with 18 U.S.C. §§ 1834 and 2323 and Rule 32.2 of the Federal
Rules of Criminal Procedure.


                               FORFEITURE ALLEGATION B


       32.     The allegations of this Indictment are re-alleged and by this reference fully

incorporated herein for the purpose of alleging forfeitures to the United States ofAmerica pursuant

to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

       33.     Upon conviction of any of the offenses as alleged in Counts 5 through 27 of the

Indictment, the defendants shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C)

and 28 U.S.C. § 2461(c), any property, real or personal, constituting or derived from proceeds

traceable to such offense, or a conspiracy to commit such offense, including but not limited to the

following:

               a. $876,087.00 in United States currency in the form of a forfeiture money
                  judgment;

               b. All rights to receive a $450,000.00 cash payment from Genexosome
                  Technologies, Inc., as a result of the "Stock Purchase Agreement" made and
                  entered into as of October 25, 2017, between Genexosome Technologies, Inc.,
                  and Defendant YU ZHOU, and Beijing Jieteng (GenExosome) Bitoech Co.
                   Ltd.;

               c. 500,000 shares of common stock of Avalon GloboCare Corp.; and

               d. 400 shares of common stock of Genexosome Technologies, Inc.

       34.     Substitute Assets: If any of the property described above, as a result of any act or

omission of a defendant—


               a. cannot be located upon the exercise of due diligence;



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               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property that cannot be subdivided without
                  difficulty—

the United States of America, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461(c), shall be entitled to seek forfeiture of any other property of the defendant up to the value

of the above forfeitable property.

       Forfeiture in accordance with 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule
32.2 of the Federal Rules of Criminal Procedure.



                                                      A TRUE BILL.




                                                       s/ Foreperson
                                                      FOREPERSON



BENJAMIN C. CLASSMAN
UNITED STATES ATTORNEY




S. COURTER SfflMEALL (OH 0090514)
Assistant United States Attorney




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